Case 1:»15-cV-O7135-ERK-SI\/|G - Document 27 Filed 02/24/17 Page 1 of 4 Page|D #: 113

UNITED STATES DISTRIC_T COURT
EASTERN DISTRICT OF N'EW YORK

 

 

~~ `" . 'x
DAQUAN JACKSON, ' . “ _ '
~ STIPULATIGN_AND ;f;
Pzaimiff, DRDER 0F DISMISSAI,
against ' § 15-cv-7135 (ERK) (sMG) ':
THE CrrY 0F NEW YORK,
_ ,§`
-De`fendant., " 1‘

. X v

 

 

 

WHEREAS, the parties have reached a settlement agreement and now desire to

resolve the remaining issues raised in this litigation, Without further proceedings and without

admitting any fan'lt or iiability;
N_.W, THEREFORE, IT IS HEREBY STIPULATED A__ND AGREED`,_ by

and between the undersigne§f`,. that ____`t`-he ebe.§zi_e“-.reference_d action is hereby dismissed with

   

prejudice
' §
Date_d: New York, Ne York '
'EQ b § § , 2017 - »»
STOLL, GLICKMAN AND BELLINA ZACHARY W. CARTER
LLP Corporation Ceunse} of the
Attomeys for Plaintsz Cit-§y of New York
475 Atlantic Avenue, Fl. Artomey for Defe`ndant Cz'ry of New York
100 Church Stre`et, 3rd F!oor_;
By:
Senio`r Couns__erl ` :

so QRDERED;

 

 

' _ EDWARDR KOR_MAN "

 

 

 

 

Case 1:15-cV-O7135-ERK-SI\/|G Document 27 Filed 02/24/17 Page 2 of 4 Page|D #: 114

UNFTED STATES DISTRICT COUR_T
BASTERN DISTRICT OF NEW Y()RK

 

DAQUAN JAcKsoN,
t .\ t ______ Piémt,;ff;, SETTLEMENT
-against- x 15-cV-7E35 (ERK) (SMG)

iran crrY oF NEW YORK, h d

Defendant. ' '

 

WHEREAS, plaintiff commenced this action by filing a complaint on or about
December 15, 2015, and an amended complaint on luly ]3_, 2016, alleging that the defendant
m(and two prior defendants since dismissed from this -case`) vio_£ated piaintiff’s federal civil and
state common law rights; and l l j

WHEREAS, defendant City of New York has denied any and all liability arising
out of pfaintiff’s aliegations; and l

WHEREAS, the parties now desire to resolve the issues raised_in this litigation,
Without further.p`roceedings and without admitting any faith or`lial)i'lity; and

WHEREAS, plaintiff has authorized his counsel to settle this matter on the terms
set forth below;

NQ_W, TI~IEREFORE, IT IS HEREBY STIPULATED AND A_GREED, by
and between the hedersi`gned, as follows:

i. The above-referenced action is hereby dismissed against defendant with

prejudice, and without :costs, expenses, or attorneys’ fees except as specified in paragraph “2”

below.

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Case 1:15-cV-O7135-ERK-SI\/|G Document 27 Filed 02/24/17 Page 3 of 4 Page|D #:

2. Defendant City of New York hereby agrees to pay plaintiff Daquan
J.ackson the sum of One Thousand Five I-Iundred ($1,50(}.-00) f)ollars in full satisfaction of all
claims, including claims for costs, expenses and attorneys’ fees, In consideration for the
payment of this sum, plaintiff agrees to dismissal of ali the claims against the defendant and to
release defendant City; its successors or assigns; and ali past and present officials, employees,

.-representatives, and agents of the City of New York or any entity represented by the Office of

the COFPOra‘-‘i<>n COunsel, from any and an .ii._a_l_;ili.iy, _slaimsinrrishts.Qf_.astinnallesias,a,»YiG.lalian ~w

of plaintiff’s civil rights and any and all related state law claims,'_ frdm the beginning of the World
to the date of the Generai Release, including claims for costs, expenses, and attorneys’ fees.
3. Piaintiff shall execute and deliver to the City of New- York’s attorney all
' documents necessary to effect this settiernent, including, Without limitation, a Gene:ral Relea_se
based on the terms of paragraph “2” above and an Affidavit of Status of Liens. Prior to
tendering the requisite documents to effect this -settlement, Medicare-recipient plaintiffs must
obtain and Subrnit a final demand letter from Medicare for the reimbursement of_ any conditidnai
payments made by Medicare for any injury or condition that is the subject of this lawsuit A
Medicare Set-Aside Trust may also be required if future anticipated medical costs are found to
be necessary pursuant to 42 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411_.22 through 411;26.
4. Nothing contained herein shall be deemed to be an admission by the
defendant-§:that it has in any manner or Way violated plaintiffs rights, or the rights of any other
person or e_ntity, as defined in the constitutions, statutes, ordinances rules or regulations of the
United States, the State of New York, or the City of New- York or any other rules or regulations

of any department or subdivision of the City of New York. This stipulation shall not bbe

115

Case 1:15-cV-O7135-ERK-SI\/|G Document 27 Filed 02/24/17 Page 4 of 4 Page|D #: 116

 

admissible in, nor is it related to, any other litigation or settlement negotiations except to enforce
the terms of this agreement
5. Nothing contained herein shall be deemed to constitute a policy or practice

of"the‘City ‘of='=NeW“‘¥ork‘ or any"-‘agency thereof

 

6. Plaintiff agrees to hold harmless defendant regarding any liens or past "L

and/or future Medicare payments, presently known or unknown, in connection with this matter.

-' ‘If conditional `andfor future anticipated'Medicare payments have not been satisfied, defendant
reserves the right to issue a multiparty settlement check naming Medicare as a payee cr to issue a i
check to Medicare direciiy based upon Medicare’s final demand letter.
7. This Stipul_ation of Settlernent contains all the terms and conditions agreed §

upon by the parties hereto, and no orai agreement entered into at any time nor any written 4
agreement entered into prior to the execution of this Stipulation of Settlernent regarding the
subject matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or

to vary the terms and conditions contained herein.

Bated: New "York, N_ew York

 

 

 

t 2017 z;
STOLL, GLICKMAN AND BELLINA ZACI'IARY W. CARTER
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Attomeysfor Plaz`nn:@" City of New Yoik
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" Broolt}yn, NY 11217 100 Church Street, 3rd Floor
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By: %r/H 04 AL/ ,,,,,,,,,, 5 By:
Nico Bellin , ` .
Atro eyfo laintiff Senior Connsel

 

